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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

                    Miscellaneous Action No. 18-mc-51358
                      Criminal Action No. 17-cr-20274
                          Hon. Bernard A. Friedman
                            Mag. David R. Grand
                   _________________________________
                          United States of America,

                                  Plaintiff,

                                     v.

                          Jumana Nagarwala, et al.,

                                Defendants.

                   __________________________________
     REPLY BRIEF IN FURTHER SUPPORT OF MOTION FOR LEAVE
    TO FILE BRIEF OF PROPOSED AMICUS CURIAE AHA FOUNDATION
      AND OPPOSITION TO DEFENDANTS’ RESPONSE TO MOTION
           TO FILE AMICUS BRIEF AND MOTION TO STRIKE
                    _____________________________

                                  Gregory Starner (NY Bar No. 4146601)
                                  Samuel P. Hershey (NY Bar No. 5100854)
                                  Ariel I. Oseasohn (NY Bar No. 5366174)
                                  Mark Franke (NY Bar No. 5198999)
                                  WHITE & CASE LLP
                                  1221 Avenue of the Americas
                                  New York, NY 10020
                                  Tel: (212) 819-8200
                                  Fax: (212) 354-8113
                                  gstarner@whitecase.com
                                  sam.hershey@whitecase.com
                                  ariel.oseasohn@whitecase.com
                                  mark.franke@whitecase.com

                                  Counsel for Proposed Amicus Curiae
                                  AHA Foundation
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         Proposed amicus curiae AHA Foundation submits this reply brief in further support of its

Motion for Leave to File Brief of Proposed Amicus Curiae AHA Foundation [D.I. 2] (the

“Motion”) 1 and in opposition to Defendants’ Response to Motion to File Amicus Brief and

Motion to Strike [D.I. 5] (the “Opposition”).

                                                   Argument

         AHA Foundation submits this short reply brief to refute the baseless arguments in

Defendants’ Opposition. As discussed below, despite Defendants’ claims to the contrary, trial

courts in this District (including this Court) welcome amicus briefs; Defendants’ arguments

would bar any party from filing an amicus brief in any case; and Defendants’ objections to AHA

Foundation’s proposed amicus brief lack merit. Accordingly, this Court should grant the

Motion, overrule Defendants’ objections and deny the Opposition.

    I.       Far from being prohibited, courts in this District welcome amicus briefs.

         Defendants argue that “[n]either the Rules of Criminal Procedure nor this District’s Local

Rules allow for the filing of an amicus brief at this stage in District Court.” Opp. at 5. AHA

Foundation acknowledges that the rules cited by Defendants are silent as to amicus briefs. See

Motion at 1. But just because amicus briefs are not discussed in those rules does not mean

amicus briefs are not allowed by those rules. To the contrary, amicus briefs are frequently

accepted by courts in this District. See, e.g., Johnson v. Williams, No. 15-13856, 2017 U.S. Dist.

LEXIS 156149, at *2-3 (E.D. Mich. Sep. 25, 2017) (noting that “[t]he Michigan Association for

Justice and the Michigan Defense Trial Counsel submitted amicus briefs”); United States v.

Florists' Tel. Delivery Ass'n, Case No. 15748, Case No. 28784, 1990 U.S. Dist. LEXIS 20841, at

*1 (E.D. Mich. Nov. 3, 1990) (noting that “three amicus briefs were filed” by various



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         Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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companies); Mercer v. Mich. State Bd. of Educ., 379 F. Supp. 580, 583 (E.D. Mich. 1974)

(noting that “[t]he Northeast Mothers Alert filed an [a]micus brief”).

         Moreover, amicus briefs have previously been accepted by this Court. See Deboer v.

Snyder, Case No. 2:12-cv-10285 (E.D. Mich. 2013) (Friedman, J.), Dkt. No. 51 (order granting

American Civil Liberties Union leave to file amicus brief); Dkt. No. 72 (order granting Michigan

Law Professors, Michigan Catholic Conference and Michigan Family Forum leave to file amicus

briefs). Importantly, these amicus briefs were allowed even though not all parties consented to

their filing. See Case No. 2:12-cv-10285, Dkt. No. 66 at 4 (“Defendants Snyder and Schuette

have withheld their consent”); Dkt. No. 70 at 3 (“Plaintiffs have withheld their consent”).

         Just as the American Civil Liberties Union argued in seeking leave to file its amicus brief

in Deboer v. Snyder, AHA Foundation believes that, as a “national organization dedicated to

advancing legal rights for” women and girls, it is “uniquely situated to address” this case. See

Deboer v. Snyder, Case No. 2:12-cv-10285, Dkt. No. 49 at 4; see also Ryan v. CFTC, 125 F.3d

1062, 1063 (7th Cir. 1997) (Posner, J.) (“An amicus brief should normally be allowed when . . .

the amicus has unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.”). Moreover, for the reasons stated in the Motion,

like Deboer v. Snyder, this case presents novel issues of national importance. It is in just such

cases that a court most benefits from the perspective of amici curiae.

         For these reasons, AHA Foundation respectfully requests that the same relief granted to

proposed amici curiae in Deboer v. Snyder be granted here.

   II.      Defendants’ arguments would bar any party from filing an amicus brief in any
            case.

         Defendants argue that the Motion should be denied because “the AHA [sic] is not privy

to discovery materials, nor would it have the ability to learn about nuanced circumstances of the



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case from public pleadings.” Opp. at 8. But every amicus curiae, as a non-party to the

proceedings, lacks access to discovery materials and the full scope of information available to

the parties. Defendants’ objection, if heeded, would make filing amicus briefs impossible.

           Moreover, Defendants cite Judge Posner for the proposition that courts “are not helped by

an amicus curiae’s expression of a strongly held view about the weight of the evidence.” Opp. at

7 (citing Ryan v. Commodity Futures Trading Commission, 125 F. 3d at 1062-1063). Yet that is

precisely what Defendants fault AHA Foundation for not providing. Defendants’ objection,

therefore, fails on its own terms. 2

    III.      Defendants fail to identify any procedural or substantive defect with AHA
              Foundation’s proposed amicus brief.

           Straining to find grounds to deny the Motion, Defendants raise a slew of objections to

AHA Foundation’s proposed amicus brief. None has merit.

           First, Defendants argue that an amicus brief “may be no more than one half the

maximum authorized for a party’s principal brief.” Opp. at 5, n.1. AHA Foundation agrees,

which is why its amicus brief runs 21 pages—not 26 pages, as Defendants claim. Opp. at 4. It is

thus less than half the length of the United States’ 45-page brief. Moreover, AHA Foundation’s

amicus brief contains fewer than 6,500 words, the limit under the appellate rules. See Fed. R.

App. P. 29(a)(5). AHA Foundation’s amicus brief thus complies with all relevant procedural

requirements.

           Second, Defendants repeatedly claim that “[t]he proposed amicus brief of the AHA [sic]

does not provide a unique perspective or arguments to the Court which are not already advanced
2
           Despite arguing that AHA Foundation lacks access to inside information about this case, Defendants also
claim, without any evidence, that “it appears that two individuals with close connections to the AHA [sic] were
cooperating witnesses for the government during the investigation of this instant case.” Opp. at 10. While it is
difficult to respond to such vague allegations, which fail to identify the individuals in question or the nature of their
“close connections,” AHA Foundation affirms that, to the best of its knowledge, no past or present director, officer
or employee has served as a witness in this case. Additionally, for the avoidance of doubt, AHA Foundation affirms
that no party to this action drafted or funded any part of its amicus brief. See Fed. R. App. P. 29(a)(4)(E)(i).


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by the government in its extensive filing.” Opp. at 7; see also Opp. at 8 (“The remaining ten

pages merely restate arguments already made by the government in its extensive filing”); id.

(“[T]he proposed brief does not provide anything unique not already presented by the parties”).

But simply repeating this conclusory assertion does not make it true. Indeed, Defendants fail to

identify a single argument made by AHA Foundation that was also made by the United States—

because there is none. While the United States and AHA Foundation both advance arguments

regarding the Commerce Clause and Treaty Clause (as do Defendants), even a cursory review of

both briefs reveals that those arguments are entirely distinct. Moreover, Defendants elsewhere

complain that AHA Foundation’s discussion of bride prices raises an argument “the government

does not even make.” Opp. at 10. Defendants cannot have it both ways. 3

         Third, it is of no consequence that facts AHA Foundation “relies on to support its

argument about interstate commerce are not based on information or facts that apply to the

Dawoodi Bohra.” Opp. at 9. AHA Foundation had no need to focus on the Dawoodi Bohra,

since Defendants argue that Section 116 is unconstitutional in all cases, not just in this case.

Indeed, Defendants’ motion to dismiss does not mention the Dawoodi Bohra even once. It also

matters not that certain facts in AHA Foundation’s amicus brief may not have been “before

Congress when enacting the statute.” Id. As AHA Foundation previously noted, “because

[courts] never require a legislature to articulate its reasons for enacting a statute, it is entirely

irrelevant for constitutional purposes whether the conceived reason for the challenged distinction

actually motivated the legislature.” F.C.C. v. Beach Commc’ns, Inc., 508 U.S. 307, 315 (1993).



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          Defendants also object that “[t]he first several pages of the AHA brief are devoted to policy and not legal
arguments[.]” Opp. at 7-8. Yet policy arguments by an amicus curiae are as old as the Brandeis Brief. Moreover,
such arguments perfectly align with guidance under the Supreme Court rules that an amicus curiae should “bring to
the attention of the Court relevant matter not already brought to its attention by the parties.” See Rule 37 of the
Rules of the Supreme Court of the United States.


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       Finally, AHA Foundation rejects Defendants’ claim that it seeks leave to file an amicus

brief to promote its “agenda” and generate “publicity and news coverage.” Opp. at 11. AHA

Foundation is a non-profit, non-partisan human rights organization, and its legal representation in

this matter is provided pro bono. While AHA Foundation’s proposed amicus brief may have

generated attention, just as “publicity is beyond the ability of the Court to control,” Opp. at 11,

so too is it beyond the ability of AHA Foundation to control. That is no reason to impugn AHA

Foundation’s motives. And it is certainly no reason to deny its Motion.

                                            Conclusion

       For the reasons stated herein, AHA Foundation respectfully requests that this Court

(i) grant the Motion, (ii) overrule Defendants’ objections and (iii) deny the Opposition.


                                               Respectfully submitted,

                                               s/ Mark Franke
                                               Gregory Starner (NY Bar No. 4146601)
                                               Samuel P. Hershey (NY Bar No. 5100854)
                                               Ariel I. Oseasohn (NY Bar No. 5366174)
                                               Mark Franke (NY Bar No. 5198999)
                                               WHITE & CASE LLP
                                               1221 Avenue of the Americas
                                               New York, NY 10020
                                               Tel: (212) 819-8200
                                               Fax: (212) 354-8113
                                               gstarner@whitecase.com
                                               sam.hershey@whitecase.com
                                               ariel.oseasohn@whitecase.com
                                               mark.franke@whitecase.com

                                               Counsel for Proposed Amicus Curiae
                                               AHA Foundation




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                                 CERTIFICATE OF SERVICE


         I hereby certify that on October 15, 2018, I electronically filed the foregoing document

with the Clerk of Court using the ECF system, which will send notification of such filing to all

parties to this proceeding. The foregoing document was also sent to all parties in this case via

email.




                                             s/ Mark Franke
                                             Mark Franke




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